Case 2:18-cr-00036-LGW-BWC Document 79 Filed 03/07/19 Page 1 of 4

AO 93 tRe\'_ ll! 13,\ Search and Scizure \\"arrant

UNITED STATES DISTRICT COURT

for thc

Southern District o|` Georgia

ln the Matter oft|te Searclt of
(Briejl'_\’ describe the propt'r.'_t' to be searched

)
)
or irierr.'iy§’ fire person by name and trddress) ) Ca_$e NO_ (_` g '2__ l g ._.3 6
)
)

A Hew|ett Packard HP 15-F233WM Laptop Computer.
Seria| Nun'lber SCD5442W50 Located at the Darien
Poiice Departrnent, 1180 Coasta| Drive SW, Darien, GA )

SEARCH AND SEIZ.URE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located inthe Southeg District of _ _ _ Ge°rgla__ _ _
(r`riem'{,{'t' the person or describe tire property to be searched end give irs lr)ctt¢'t`orr)l

See Attachment A

l find that the affidavit(s), or any recorded testimony. establish probable cause to Search and seize the person or property
dCSCl'llJCd ab(}\"€._ and ll'lill Sl.lCl] SEal‘Cl't Will reveal (t`demijj’ tire person or describe the proper!'t' to be set"_'cd)l

See Attachment B

You ARE COMMANDEI) te execute this warrant en er before MMr/e\ 8 ,__2 0/9’ mere meat coates
El in the daytime 6:00 a.m. to ]0:00 p.in. ¢at any time in the day or night because good cause has been establishedl

Unless delayed notice is authorized below. you must give a copy ofthe warrant and a receipt for the property taken to the
person from whom, or from whose premiscs. the property was taken, or leave the copy and receipt at the place where the
property was taken.

'[`he officer executing this warrant. or an officer present during the execution ot`the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to _ __ __ _l_-_l_c_)_r].__§h_ristopher |___. Ray _ _ _ .
(Um‘red Smtt'.\' tl/!og:'srrr:re Jrrdge)

ij Pursuant to 18 U.S.C. § 3103a(b)_. l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (cxcept for delay oftrial), and authorize the officer executing this warrant to delay notice to the person wbo, or whose
property, will be searched or seized retreat nw appropriate bee

Cl for_ _ days metro et-et=edjt}) [J until the facts justifying the later spe ic date of __

oeteendttmeieeeed: ?LL?_'L/_M ___3_071"'4 126/§§ `/ %”j_

Jrrdgc s signrn‘rn e

City and Statc; Savannah, Georgia H_on ChristopherL Ray U. S. Magistrate Judg_e

 

 

 

Primt. d name and title

Case 2:18-cr-00036-LGW-BWC Document 79 Filed 03/07/19 Page 2 of 4

AO 93 (Rev_ ||fl 3} Searc|t and Seiztlrc Warrant (l’age 2)

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
Ceyl`l‘(c)'\§{n t’*/lotwci»~. "l l Zotct 21st l>ta Ev|.dmc¢

 

 

 

 

Invcntory made in the presence of : ___,...-1

long whaley .' HH

 

Inventory ofthe property taken and name ofany person{s) seized:

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gm HP L-\pt~=»{> fem[>~.t¢.» Cse.,:et'tr 6`€55¢41{7_109)>.

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Certit`:catigl

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designatedjudge.

!:`xecnrt`ng tqucer ’.\' signature

Date: ?>/[=/*c‘l __ `_7‘2_? '3¢:_'7 ___ __ _
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Pri)tted rio

 

 

 

Case 2:18-cr-00036-LGW-BWC Document 79 Filed 03/07/19 Page 3 of 4

T'I‘AC A
The property tot-be searched is a Hewlett Packard HP 15-F233WM1aptop
computer bearing serial number 50D5442W50 hereafter referred to aa the “Device."
'I'he Device is currently-located at the Darien Police Department, 1180 Coastal
Drive SW, Darien, Georgia.
Thjs warrant authorizes the forensic examination of the Device to identify

the electronically stored information described in Attachment B.

Case 2:18-cr-00036-LGW-BWC Document 79 Filed 03/07/19 Page 4 of 4

ATTA B

1. All records on the Device described in Attachment A that relate to violations
of Title 21, United States Code, Section 841 (a)(l), and Title 18, United States Code,
Section 1952(a)(3), including:

a. Evidence of user attribution showing who used or owned the Device such as
logs, phonebooks, saved usernames, passwords, documents, and browsing history;

b. Correspondence including, but not limited to, electronic mail, chat logs,
electronic documents and messages, describing or relating to the possession with
intent to distribute, and distribution of controlled substancu;

c. Photographsll movies or other materials depicting the possession, and/or
distribution of controlled substance;

d. Reccrds of Internet activity, including firewall logs, cachcs, browser history
and cookies, “boolcmarked” or “favorite” web pages, search terms that the user
entered into any Internet search engine, and records of user-typed web addresses;

e. Records evidencing the use of the devices to communicate with the internet,
including records of Internet Protocol addresses used;

f. Lists of customers and related identifying information;

g. Types, amounts, and prices of drugs trai£cked as well as dates, places, and
amounts of speciic transactions;

h. Any information related to sources of drugs (including names, addresses,
phone numbers, or any other identifying information);

i. Any information recording suspects’ schedule or travel;

j. All bank records, checks, credit card bills, account information, and oth
financial records. -

As used above, the terms “records” and “information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been
created or stored, including any form of computer or electronic storage (such as
flash memory or other media that can store data) and any photographic form.

